Case 2:19-cv-03212-SVW-GJS Document 43 Filed 01/21/20 Page 1 of 3 Page ID #:677




  1 C. D. Michel – SBN 144258
    Anna M. Barvir – SBN 268728
  2 Sean A. Brady – SBN 262007
  3 Tiffany D. Cheuvront – SBN 317144
    MICHEL & ASSOCIATES, P.C.
  4 180 East Ocean Blvd., Suite 200
    Long Beach, CA 90802
  5 Telephone: 562-216-4444
  6 Facsimile: 562-216-4445
    cmichel@michellawyers.com
  7
    Attorneys for Plaintiffs
  8
  9                        UNITED STATES DISTRICT COURT
 10
                         CENTRAL DISTRICT OF CALIFORNIA
 11
 12   NATIONAL RIFLE ASSOCIATION                  Case No.: 2:19-cv-03212 SVW (GJSx)
      OF AMERICA; JOHN DOE,
 13                                               PLAINTIFFS’ WITNESS LIST
                                Plaintiffs,
 14                                               Pretrial Conference: February 10, 2020
 15                vs.                            Time: 3:00 p.m.
                                                  Courtroom: 10A
 16   CITY OF LOS ANGELES; ERIC                   Judge: Hon. Judge Stephen V. Wilson
      GARCETTI, in his official capacity as
 17   Mayor of City of Los Angeles; HOLLY         Action Filed: April 24, 2019
 18   L. WOLCOTT, in her official capacity        Trial: February 25, 2020
      as City Clerk of City of Los Angeles;
 19   and DOES 1-10,
 20                             Defendants.
 21
 22         PLEASE TAKE NOTICE pursuant to Rule 26(a)(3)(A) of the Federal Rules
 23 of Civil Procedure and Local Rule 16-5, Plaintiffs National Rifle Association of
 24 America and John Doe submit this list of witnesses intends to call at trial.
 25         1.    Plaintiff John Doe. Plaintiffs will be filing a motion for protective order
 26 and to proceed under a pseudonym imminently. Plaintiff Doe can be contacted
 27 through Plaintiffs’ counsel of record.
 28         2.    Los Angeles City Councilmember Mitch O’Farrell. 200 N. Spring
                                            1
                                PLAINTIFFS’ WITNESS LIST
Case 2:19-cv-03212-SVW-GJS Document 43 Filed 01/21/20 Page 2 of 3 Page ID #:678




  1 Street, Room 480, Los Angeles, CA 90012. Phone: (213) 473-7013. Mr. O’Farrell
  2 can be contacted through Defendants’ counsel of record.
  3         3.     *Los Angeles City Councilmember Paul Krekorian. 200 N. Spring
  4 Street, Room 435, Los Angeles, CA 90012. Phone: (213) 473-7002. Mr. Krekorian
  5 can be contacted through Defendants’ counsel of record.
  6         As required by Rule 26(a)(3)(A)(i) of the Federal Rules of Civil Procedure
  7 and Local Rule 16-5, any person that may be called “if the need arises” is designated
  8 with an asterisk.
  9         On January 21, 2020, the deadline to file this witness list per the local rules,
 10 the Los Angeles City Council voted unanimously to repeal the ordinance that
 11 Plaintiffs challenge in this action, potentially altering the landscape of this litigation
 12 in a significant way. Plaintiffs are still determining how the imminent repeal would
 13 impact this litigation and how that might affect the evidence presented.
 14         Additionally, discovery is ongoing. Plaintiff NRA propounded on Defendant
 15 City written discovery in the form of Requests for Production of Documents on
 16 January 9, 2020, seeking documents Plaintiff NRA believes are important to proving
 17 its claims in this matter. Responses to those discovery requests are due on February
 18 11, 2020.
 19         For these reasons, Plaintiffs reserve the right to amend this witness list should
 20 they learn of any document identifying a relevant witness for their claims from the
 21 City’s responses to Plaintiff NRA’s discovery or from the City’s process to repeal
 22 the ordinance being challenged in this matter.
 23
 24 Dated: January 21, 2020                          MICHEL & ASSOCIATES, P.C.
 25
 26                                                  s/ Anna M. Barvir
                                                     Anna M. Barvir
 27                                                  Attorneys for Plaintiffs

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                                 PLAINTIFFS’ WITNESS LIST
Case 2:19-cv-03212-SVW-GJS Document 43 Filed 01/21/20 Page 3 of 3 Page ID #:679




  1                           CERTIFICATE OF SERVICE
  2                     IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  3
    Case Name: National Rifle Association, et al., v. City of Los Angeles, et al.
  4 Case No.: 2:19-cv-03212 SVW (GJSx)
  5 IT IS HEREBY CERTIFIED THAT:
  6
           I, the undersigned, am a citizen of the United States and am at least eighteen
  7 years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
    Beach, California 90802.
  8
  9        I am not a party to the above-entitled action. I have caused service of:

 10                             PLAINTIFFS’ WITNESS LIST
 11 on the following party by electronically filing the foregoing with the Clerk of the
    District Court using its ECF System, which electronically notifies them.
 12
 13 Benjamin F. Chapman
    Los Angeles City Attorney
 14 200 N. Main St., Suite 675
    Los Angeles, CA 90012
 15 benjamin.chapman@lacity.org
 16    Attorneys for Defendants

 17          I declare under penalty of perjury that the foregoing is true and correct.
 18 Executed January 21, 2020.
 19                                                 s/ Laura Palmerin
 20                                                 Laura Palmerin

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 22
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 24
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 26
 27
 28


                                 CERTIFICATE OF SERVICE
